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          EXHIBIT A
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Superior Court - Bristol
Docket Number




                                             COMMONWEALTH OF MASSACHUSETTS

                 BRISTOL, SS.                                              BRISTOL SUPERIOR COURT
                                                                           CIVIL ACTION NO. 2213eNootte

                 GLEN BEBERNESS,
                      Plaintiff                                                            BRISTOL,SS SUPERIOR COURT •
                                                                                                      FILED

                                                                                                     SEP 21 2022
                 CROWN EQUIPMENT CORPORATION,
                 a/k/a CROWN LIFT TRUCKS -                                                  JENNIFER A. SULLIVAN, ESQ.
                 SOUTHERN NEW ENGLAND                                                          CLERK / MAGISTRATE
                        Defendant

                                         COMPLAINT AND DEMAND FOR JURY TRIAL

                 1.       The plaintiff Glenn Beberness ("Beberness") is an individual residing in the City of New
                          Bedford, Bristol County, Massachusetts.

                 2.        The defendant Crown Equipment Corporation ("Crown Equipment") a/k/a Crown Lift
                           Trucks - Southern New England is a foreign corporation with a place of business in the
                           Town of Franklin, Massachusetts.

                 3.        On October 1, 2019, the plaintiff Beberness was in the course of his employment with
                           BJ's Wholesale Club, Inc. located in Dartmouth. Massachusetts.

                 4.        On or about October 1, 2019, while lawfully on the premises of B.1's Wholesale Club the
                           plaintiff Beberness was operating a forklift truck which was owned and/or maintained by
                           the defendant Crown.

                  5.       On or about October 1, 2019, the plaintiff Bebemess was caused to sustain serious and
                           permanent physical injury when he was injured due to the malfunctioning of the forklift
                           owned, operated, maintained, and/or controlled by the defendant Crown Equipment.              N

                  6.       The damages and injuries sustained by the plaintiff Beberness were the direct and
                           proximate result of the carelessness and negligence of the defendant Crown Equipment as
                           follows:

                           a.       it negligently failed to maintain the subject forklift in a safe condition;

                           b.       it negligently created or allowed to exist an unreasonably dangerous and/or
                                    hazardous condition involving the forklift;

                           c.       it negligently failed to warn and/or adequately warn the plaintiff concerning the
                                    dangerous and/or defective condition which existed involving the forklift;
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                          •d.       it negligently managed, controlled, supervised and/or directed maintenance work
                                    of its agents, servants and/or employees so as to create and/or allow to exist an
                                    unreasonably dangerous and/or hazardous condition involving the forklift

                 7.        As a direct and proximate result of the negligence of the defendant Crown Equipment, all
                          .as hereinabove set forth, the plaintiff Bebemess was caused to sustain serious and
                           physical and emotional injuries and by reason of said injuries, plaintiff has been caused to
                           suffer loss of function and mobility; she has been caused to incur expense for hospital,
                           medical and physical therapy treatment; her daily activities have been restricted and her
                           ability to lead a normal life has been adversely affected.

                        WHEREFORE, the plaintiff Glen Bebemess demands judgment against defendant Crown
                 Equipment Corporation in such amounts as this Court deems just and fair together with interest
                 and costs of this action.

                        THE PLAINTIFF DEMANDS A TRIAL BY JURY AS TO ALL ISSUES OF FACT.

                                                          GLEN BEBERNESS
                                                          By his Attorney.


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